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ADAMS LAW GROUP, LTD.

' JAMES R. ADAMS, ESQ.

5420 W. Sahara Ave. Suite 202

Las Vegas, Nevada 89146

702-83 8-7200 Tel

702"83 8~3636 Fax
james@adamslawnevada.c:em
Attomey for CADLES OF GRASSY ~
` MEADOWS 11, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re lCase No.: 15-16525»LED

PHILLIP AHMADZAI l ' EX PARTE MOTION FOR OR])ER F()R
' EXAD»HNATION OF PH{LLIP
Debtors AHMADZAI

Document Production
Date: Fel)ruary 19, 2016
Time: 4:00p_m

2004 Examination
Date: Februal'y 29, 2016
Time:' 1:30 pm

 

 

COMES NOW Creditor CADLES OF GRASSY MEA.DOWS H, LLC (“Cadles” or
“Movant”), by and through J ames R. Adams, Esq. of Adams law Group, Ltd. as its counsel of
record in the above-entitled action, and herebyr apply for the entry of an Order authorizing the
examination of Debtor PHILLIP AHMADZAI pursuant to Fed. R. Bankr. P-' 2004 and L.R. 2004 and
the production of documents prior to said examination l

The examination is requested for PHILLIP A'HMADZAI, commencing at the hour of 1130
pm on February 29, 2016, and continuing until concluded The examination Will take place at the
law firm of ADAMS LAW GROUP, LTD. 5420 W. Sahara Suite 202, Las Vegas, NV 89146.
Personal appearance of Pl-HLLIP AHMADZAI shall be required PH]LLIP AlD/IADZAI shall also
be required to produce documents in anticipation of the exam by no later than February 1_9, 2016.
The documents PHI|`_,LIP AHMADZAI shall produce are set forth herein as Exhibit A hereto

This Motion is made to permit Movant to examine the Debtor in more detail based on the

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questions and answers given at the 341 Conference on December 23, 2015. Movant intends to
request Debtor answer questions as to his assets, trusts, transfer of assets prior to the filing of
bankruptcy, Debtor’s employment and employment history based on public record versus l)ebtor’s
- representations in his bankruptcy petition, Debtor’s ownership or involvement of various corporate
and limited liability companies based-on public record versus Debtor’s representations in his
bankruptcy petition, and Debtor’s income and budget as alleged in his bankruptcy petition. Debtor’ s
bankruptcy Was filed just days before a Nevada Eighth .Tudiciai Court Order required Debtor to
appear for a Judgement Debtor Exam and produce documents accordingly Movant seeks to ask
questions and seek documents in accordance With that Judgement Debtor Examination.
A proposed order shall be submitted attached hereto as Exhibit B.

Dated this 221/ii day of Ianuary, 2016. -
ADAMs LAW GROUP, L'rr).

Ja{sa;/”M”

S, ESQ.
Nevada Bar No. 6874
5420 W. Sahara Ave. Suite 202
Las Vegas, Nevada 89146
Attorney for Cadles of Grassy Meadows

 

 

 

 

 

 

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CERTIFICATE OF SERVICE

insREBY-cnarnav ran on the is ' day sr 2a m@§; , 2016, a copy stare
EX PARTE M()TION FOR ORDER FOR EXAM]NATION OF PHILLIP-AHl\/lADZAI Was
served on the following party by mailing a copy thereof, U.S. Mail to:
Phillip Amadzai
10620 Southern Highlands PkWy #110-495
Las Vegas Nevada 89141
Stephanie H. Clement, Esq.

9960 W. Cheyenne Ave. #190
Las Vegas, Nevada 89129

rrrsansv conner ran an ala §§ day sr ja g gary 2 , 2016, pursuant is

FRBP S(b), I served via CM!ECF a true and correct copy of the same to all parties as identified in

the Couit generated Notice of Electronic Filing.

_»\

 

An employee of Adams law Group, Ltd.

 

 

 

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Exhibir A

Exhibit A

 

   

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R.EQUESTED DOCUMEN'_[`S
7-09

I. BANK RECORDS

A. Any and all documents and records of checking savirigs, or amy other
type of account, foreign or domestic, maintained by deponent With any
type of inancial institution during the last live years, including but not
limited to monthly account statements, checks, check registers, check
Stubs, cancelled checks, and deposit slips

B. All documents that refer to, relate to, reflect or concern any transfers
made to or from any financial account held for the benefit of deponent, ' '
by any third party, for the last five years

C. Any and all signature cards that name deponent as an authorized
signatory orr any financial account, for any entity or other third party,
for the past five years §

D. Ariy and all documents submitted to any bank financial institution, or
any other person or entity, by deponent, for any loan or advance, in any
capacity (borroWer, guarantor, or surety] for the past five years

E. Ariy and all documents concerning any interest in, or claimed title to,
any certificates of deposit, letters of credit, money orders, cashier’s
checks, traveler’s checks, bank deposits or escrow funds owned or held
be deponent in the past five years '

F. Any and all documents related to any account in Which any cf
deponent’s earnings or other income has been deposited into in the past
five years, Whether deponent continued to have an interest irl it or riot.

G. Ariy and all documents evidencing deponent having authority to access
any safe deposit box or other bank-secured area, for the last live years

H. Any and all documents evidencing any application signed by deponent
or on behalf of deponent or deponents wife and/or children, to open a
foreign or offshore financial account iri the name of deponent or any
other entity

l. Copies of IRA contracts for all lRAs that you currently have.

J. Copies of any IRA or 40lK’s that Were “rolled over”.

K. Complete contribution and distribution records for any current or
previous lRAs or 40le.

 

 

II. '

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L. Copies of any and all bills or living expenses paid for with your IRA or
4011{ distiibutions.

M. Copies of any loans taken against your IRA or 401K.

REAL PROPERTY

A. Any and all documents that refer to, reilect, or relate to any real
property owned by deponent in the past five years

B. Any and all documents that refer to, reflect, or reiate to encumbrances
on any real property owned by deponent

C. Any and all documents evidencing ownership of real property in which
deponent currently enjoys a direct or indirect beneficial interest

D. Any and all checks, receipts, deeds or other evidence of the sale or
transfer of any real property in which you had a legal or equitable
ownership interest in, within the past five years.

E. An`y and all lease agreements for real property in Which deponent is the
landlord, or has a beneficial interest in.

F. Any and all iease agreements for real property in which the deponent is
the lessor or lessee.

G. Any and all documents that evidence deponent’s name being on any real
property tax records, as payor or trustee for the past five years.

l-I. Any and all deeds that title any real property to deponent as trustee for
any other person or entity.

I. Any and all_deeds of trust or mortgages held in favor of deponent at
present or ownedduring the last five years.

J. Any and all documents evidencing any time-shares that deponent enjoys
the use of.

K. Copies of any appraisals or other forms of valuation for any property
that you have an interest in or had an interest within the past five
years

L. Promissory Notes or Mortgages you signed during the past six years.

M. Copies of all deeds / mortgages to which you hold property as tenants by
the entireties, tenants in common or joint tenants

N. Any and all checks, receipts, deeds or other evidence of the sale or
transfer of surface rights on any real property in which you had a legal

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III.

IV.

     

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PERSONAL PROPERTY

A. Certificates of title or other evidence of ownership of any boat,

. Copies of all homeowner’s insurance policies and any other insurance

or equitable ownershipinterest in but you maintained the mineral rights
and / or sub-surface rights within the past 10 years.

automobile, truck, watercraft, motorcycle, four-wheeler, recreational
vehicle, go-kart, aircraft, agricultural equipment, or construction
equipment owned by or in possession of deponent, Whether owned by
deponent or entity that deponent is affiliated with, or held in trust by
deponent ‘ `

 

Any and all note receivables, pledges or security interests in favor of
deponent now, and in the past five years.

policies or riders that have insured any property that deponent owns or
has the benefit of use of, for the past five years.

List of household furnishings and fixtures that have been purchased
within the last year that had a purchase price of $999 or more.

Copies of all dock slips or other documentation evidencing the right to
dock any Watercraft, Whether deponent has a legal or beneficial interest y

Any and all documents that refer to or reflect any livestock owned by

7 deponent within the past ive years.

List and valuation of all collectibles (i.e. stamps, coins, sports cards, etc)
that deponent now owns or has owned Within the past five years.

. Any and all documents that refer to, or relate to any guns, jewelry,

antiques, art, paintings or other similar assets owned by deponent or in
deponents possession within the past five years.

Any and all documents evidencing any interest deponent may have in
any patents, trademarks, copyrights, franchises, royalties of any kind,
oil and gas rights, timber iights, or mineral rights.

BUSINESS INTERESTS / EMPLOYMENT

A.

All documents that identify the name and addresses of any person or
entity that has employed deponent within the past five years.

All documents that identify any person or entity that deponent has
acted as an independent contractor for in the past five years.

 

         

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C. A]l documents referring in any way, directly or indirectly, to any and ali
businesses in which deponent is a stockholder, parf'ner, officer, director,
owner, or registered agent

D. Any and all corporate charters, minutes of stockholders meetings
resolutions, or recorded evidence of any kind relating to the affairs of
any corporation owned by deponent, or any subsidiary or other entity in
which such corporation holds an ownership interest during the past five
years. » t

E. Lists of all customers, clients, etc. of any kind with which the
corporation (or any other business entity owned by deponent) does
business or has done business during the past five years.

F. All ioca_i, state and federal tax returns filed by deponent in the past five
years, including all attachments, schedules W-B’s, K- 1’s, 1099 and
1098 forms.

G. All documents referring, relating or_pertaining to any records of salaries,
commissions, bonuses, income from employment, wages, pay stubs,
dividends, royalties, allowances, expenses or other sums of money paid
to deponent within the past five years.

H. Any and all employment contracts that deponent has had in the past
five years.

INVESTMENTS

A. Any and all documents and records of stocks, bonds, mutual funds,
debentures, certificates of deposit or any other investment vehicle
owned or held for the benefit of deponent

B. Any and all documents relating to any retirement accounts or annuities,
whether individual or employer sponsored, that are owned by deponent,
or held for the benefit of deponent

C. Any and all rent rolls for all properties in which deponent has had an
ownership interest in for the past five years.

D. Copies of all lO99-D’s or 1099-ls issued to deponent within the past
five years.

E. Any and ali documents referring to any stock options or profit-sharing
plans held by deponent or for the benefit of deponent

F. Any and all documents that evidence a_ cash value in any life insurance
policy of deponent and copies of all policies whether term, whole life or
universal

 

 

   

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GENERAL

A. All documents evidencing any trusts or amendments to trusts in which
the deponent is a grantor, settlor, trustee, or beneficiary

B. All documents evidencing any and all trusts or amendments to trusts
that the deponent has directly or indirectly contributed any assets to
_ Within the past ten years.

C. Copies of all pre and post»nuptial agreements, to include the list of
assets and liabilities to be held separately

D. Copies of all separate property agreements, to include the list of assets
and liabilities to be held separate

E. Copy of any Wil_is including all amendments in Which deponent is Or was
named as a beneficiary

F. All passports for travel outside of the United States.

G. Copies of any and all credit card statements, for all cards in which
deponent is an authorized User, for the past two years.

H. All documents referring or reflecting the name and address of any
storage facility or mini-warehouse to which deponent has access.

l. Copies of any and all financial statements that deponent has prepared
for any lender or creditor in the past five years.

J. Copies of any and all professional licenses that are held by deponent -
K. Copies of all driver‘s licenses
L. Copy of birth certificate

O. Copies of all divorce decrees and any affidavits submitted in those
' proceedings `

N:\Forms-Instructions\REQUESTED DOCUMEN'I`S OT-DQ.doe

 

 

 

   

 

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EXhib it §

 

 

 

 

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ADAMS LAW GROUP, LTD.
IA_M:ES R. ADAMS, ESQ.
5420 W. Sahai'a Ave. Suite 202
LBS chas, Nevada 89146

702-838-7200 Tel
702-838-3636 Fax

james @ adamsl awnevada. corn
Attorney for CADLES OF GRASSY

lleADOWS Il, LLC

In re

PHILL[P AHMADZAI

Debtors

 

 

UNITEI) STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

Case No,: 15-16525~LED

ORDER GRANTING EX PARTE
MOTION FOR ORDER FOR
EXAMINATION OF PH]LLIP
AIMIA])ZAI

Document Production
Date: February 19, 2016
Time: 4:00pm

2004 Exanlination
Date: February 29, 2016
Time: 1:30 pin

This Couit having read and considered the Ex Parte Motion for Order for Exainination of

PHILLIP A`l-IMADZAI by Creditor CADLES OF GRASSY MEADOWS ]I, LLC (“Cadles" or

“`Movant”), pursuant to Federal Ruleof Banl<ruptcy Procedure 2004, and for good cause appearing

 

 

 

 

   

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IT IS I-]BREBY ORDERED that the examination of PI-I[LLIP Al-[MADZAI shall commence -
at the hour of February 29, 2016 at 1:30 pm, and continuing until concluded The examination will
take place at the law firm of ADAMS LAW GROUP, LTD_ 5420 W. Sahara Suite 202, Las Vegas,
NV 89146_

l’l` IS FURTHER ORDERED that PHILLIP AHMADZAI Shall produce documents listed and
identified attached to this Order as Exhibit 1 to ADAMS LAW GROUP, LTD. 5420 W. Sahara Suite
202, las Vegas, NV 89146 by no later than Febrnary 19, 2016 by 4:00 prn.

IT IS FURTHER ORDERED that the 2004 EXamination may be continued from day to day
as necessary '

Respectfully Subrnitted:

ADAMS LAW GROUP, LTD.

“ W /%%?'2
J”AMBS R. KBAMS, ESQ.
Nevada Bar No. 6874
5420 W. Sahara Ave. Suite 202
Las Vegas, Nevada 89146

 

 

 

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~ Exhibit l

 

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I.

 

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REQUESTED DocUMENTs
7-09 7

BANK RECORDS

A.

Any and all documents and records of checking savings, or any other
type of account, foreign or domestic, maintained _by deponent with any
type of financial institution during the last five years, including but not
limited to monthly account statements, checks, check registers, check
stubs, cancelled checks, and deposit slips.

. All documents that refer to, relate to, reflect or concern any transfers

made to or from any financial account held for the benefit of deponent,
by any third party, f'or the last five years.

Any and all signature cards that name deponent as an authorized
signatory on any financial account, for any entity or other third party,
for the past live years.

. Any and all documents submitted to any bank nnancial institution, or

any other person or entity, by deponent, i`or any loan or advance, in any
capacity (borrower, guarantor, or surety) for the past five years.

. Any and all documents concerning any interest in, or claimed title to,

any certificates of deposit, letters of credit, money orders, cashier’s
checks, traveler’s checks, bank deposits or escrow funds owned or held
be deponent in the past five years.

Any and all documents related to any account in Which any of
deponent’s earnings or other income has been deposited into in the past
five years, vvhether deponent continued to have an interest in it or not.

. Any and all documents evidencing deponent having authority to access

any safe deposit box or other bank-secured area, f`or the last five years.
Any and all documents evidencing any application signed by deponent
or on behalf of deponent or deponent‘s Wii`e and/or children, to open a
foreign or offshore financial account in the name of deponent or any
other entity.

Copies of` IRA contracts for all IRAs that you currently have.

Copies of any IRA or 401K’s that vvere “rolled over”.

Cornplete contribution and distribution records for any current or
previous IRAs or 4011{5.

 

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L. Copies of any and all bills or living expenses paid for W`ith your IRA or
40 lK distributions

M. Copies of any loans taken against your IRA or 401K.

REAL PROPERTY

A. Any and all documents that refer to, reilect, or relate to any real
property owned by deponent in the past five years.

B. Any and all documents that refer to, reflect, or relate to encumbrances
_ on any real property owned by deponent

C. Any and all documents evidencing ownership of real property in Which
deponent currently enjoys a direct or indirect beneficial interest

D. Any and ali checks, receipts, deeds or other evidence of the sale or
transfer of any real property in which you had a legal or equitable
ownership interest in, within the past live years.

E. Any and all lease agreements for real property in Which deponent is the
landlord, or has a beneficial interest in, ,

F. Any and all lease agreements for real property in Which the deponent is
the lessor or lessee.

G. Any and all documents that evidence deponent’s name being on any real
property tax records, as payor or trustee for the past five years.

H. Any and all deeds that title any real property to deponent as trustee for
any other person or entity.

I. Any and all deeds of trust or mortgages held in favor of deponent at
present or owned during the last five years.

J. Any and all documents evidencing any time-shares that deponent enjoys
the use of.

K. Copies of any appraisals or other forms of valuation for any property
that you have an interest in or had an interest within the past five
years.

L. Promissory Notes or Mortgages you signed during the past six years.

M. Copies of all deeds / mortgages to Which you hold property as tenants by
the entireties, tenants in common or joint tenants

N. Any and all checks, receipts, deeds or other evidence of the sale or
transfer of surface rights on any real property in which you had a legal

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III.

   

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or equitable ownership interest in but you maintained the mineral rights
and/or sub-surface rights within the past 10 years.

PERsoNAL PRoPER'rY

A. Certii`icates of title or other evidence of ownership of any boat,
automobile, truck, watercraft, motorcycle, four~wheeler, recreational
vehicle, go-kart, aircraft, agricultural equipment or construction
equipment owned by or in possession of deponent, whether owned by
deponent or entity that deponent is aHiliated with, or held in trust by
deponent.

B. Any and all note receivables, pledges or security interests in favor of
deponent now, and in the past five years.

C. Copies of all homeowner’s insurance policies and any other insurance
policies or riders that have insured any property that deponent owns or
has the benefit of use of, for the past five years,

D. List of household furnishings and fixtures that have been purchased
within the last year that had a purchase price of $999 or more_

E. Copies of all dock slips or other documentation evidencing the right to
dock any watercraft, whether deponent has a legal or beneficial interest
in.

F. Any and all documents that refer to or reflect any livestock owned by
` deponent within the past five years.

G. List and vaiuation of all collectibles (i.e. stamps, coins, sports cards, etc)
that deponent nowowns or has owned within the past five years.

H. Any and all documents that refer to, o_r relate to any gims, jewelry,
antiques, art, paintings or other similar assets owned by deponent or in
deponents possession within the past five years.

l. Any and all documents evidencing any interest deponent may have in
any patents , trademarks, copyrights, franchises, royalties of any kind,
oil and gas rights, timber rights, or mineral rights.

BUSINESS INTERESTS/ EMPLOYMENT

A. All documents that identify the name and addresses of any person or
entity that has employed deponent within the past five years. '

B. All documents that identify any person or entity that deponent has
acted as an independent contractor for in the past live years.

 

 

 

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C All documents referring in any Way, directly or indirectly-, to any and all
businesses in which deponent is a stockholder, partner, oft`icer, director
owner, or registered agent

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D. 'Any and all corporate charters ,~ minutes of stockholders meetings-,
resolutions, or recorded evidence of any kind relating to the affairs of
any corporation owned by deponent, or any subsidiary or other entity in
which such corporation holds an ownership interest during the past five
years.

E. Lists of all customers, clients, etc. of any kind with which the
corporation (or any other business entity owned by deponent) does
business or has done business during the past five years.

F. All local, state and federal tax returns filed by deponent in the past live
years, including all attachments, schedules, W-2’s, K-l’s, 1099 and
1098 forms.

G. All documents referring, relating or pertaining to any records of salaries,
commissions, bonuses, income from employment, Wages, pay stubs,
dividends, royalties, allowances, expenses or other sums oi` money paid
to deponent within the past five years.

l-l. Any and all employment contracts that deponent has had in the past -
iive years.

INVESTMENTS

A. Any and all documents and records of stocks, bonds, mutual tunds,
debentures, certificates of deposit or any other investment vehicle
owned or held for the benefit of deponent

B. Any and all documents relating to any retirement accounts or annuities,
whether individual or employer sponsored, that are owned by deponent,
or held for the benefit of deponent

C. Any and all rent rolls for all properties in which deponent has had an
ownership interest in for the past iive years.

D. Copies of all 1099»D’s or 1099-l’s issued to deponent within the past
five years.

E. Any and all documents referring to any stock options or profit-sharing
plans held by deponent or for the benefit of deponent

F. Any and all documents that evidence a cash value in any life insurance
policy of deponent and copies of all policies whether term, whole life or
universal

 

 

 

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GENERAL

A.

All documents evidencing any trusts or amendments to trusts in which
the deponent is a grantor, settlor, trustee, or beneficiary

A]l documents evidencing any and all trusts or amendments to trusts
that the deponent has directly or indirectly contributed any assets to
within the past ten years.

Copies of all pre and post~nuptial agreements, to include the list of
assets and liabilities to be held separately

Copies of all separate property agreements, to include the list of assets
and liabilities to be held separate \

Copy of any Wills including all amendments in which deponent is or was
named as a beneficiary

All passports for travel outside of the United States.

Copies of any and all credit card statements, for all cards in which
deponent is an authorized user, for the past two years.

. All documents referring or reflecting the name and address of any

storage facility or mini-warehouse to which deponent has access.

Copies of any and all hnancial statements that deponent has prepared
for any lender or creditor in the past five years.

Copies of any and all professional licenses that are held by deponent.
Copies of all driver's licenses

Copy of birth certificate

. Copies of all divorce decrees and any affidavits submitted in those

proceedings .

N:\Forms-lnstructions\REQUESTED DOCUMENTS O’?'-OQ.doc

